               SIXTH DISTRICT COURT OF APPEAL
                      STATE OF FLORIDA
                    _____________________________

                          Case No. 6D2023-1248
                Lower Tribunal No. 2021-MM-004188-AOR
                   _____________________________

                         MICHAEL JAMES MARKS,

                                Appellant,
                                    v.

                            STATE OF FLORIDA,

                                 Appellee.
                    _____________________________

              Appeal from the County Court for Orange County.
                         Wayne Shoemaker, Judge.

                             August 27, 2024

PER CURIAM.

     AFFIRMED.

STARGEL, WOZNIAK and BROWNLEE, JJ., concur.


Matthew J. Metz, Public Defender, and Steven N. Gosney, Assistant Public
Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Roberts J. Bradford, Jr.,
Assistant Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
